            Case 2:22-cv-01009-TL Document 23 Filed 11/04/22 Page 1 of 4




                                                             THE HONORABLE TANA LIN
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                          UNITED STATES DISTRICT COURT
 8                       WESTERN DISTRICT OF WASHINGTON
                                SEATTLE DIVISION
 9
     SECURITIES AND EXCHANGE
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     COMMISSION,
                                                    No. 2:22-cv-01009
11
                           Plaintiff,
                                                    [PROPOSED] ORDER GRANTING
12
           v.                                       THE PARTIES’ JOINT STIPULATED
13                                                  MOTION TO EXTEND THE TIME TO
     ISHAN WAHI, NIKHIL WAHI, and                   RESPOND AND TO EXPAND THE
14   SAMEER RAMANI,                                 BRIEFING PAGE LIMITS
15                         Defendants.
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     [PROPOSED] ORDER GRANTING THE PARTIES’ JOINT
     STIPULATED MOTION TO EXTEND THE TIME TO                            JONES DAY
     RESPOND AND TO EXPAND THE BRIEFING PAGE                       51 Louisiana Ave, NW
     LIMITS                                                       Washington, D.C., 20001
     CASE NO. 2:22-cv-01009                                  Tel. 202-879-5429 • jonesday.com
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 1                                      [PROPOSED] ORDER
 2          This matter is before the Court on the Parties’ Joint Stipulated Motion for Extension of
 3   Time to Respond and to Expand the Briefing Page Limits (Dkt. No. 19). The Court, having
 4   reviewed the motion and being otherwise sufficiently advised ORDERS as follows:
 5          (1) The Parties’ Joint Stipulated Motion to Extend the Time to Respond is      GRANTED.

 6             Accordingly, Defendants’ Response to the Complaint shall be filed on or before
 7             December 1, 2022. Plaintiff’s Brief in Opposition shall be filed on or before February
 8             1, 2023. And Defendants’ Reply Brief shall be filed on or before March 3, 2023.
 9          (2) The Parties’ Joint Stipulated Motion to Expand the Briefing Page Limits is GRANTED.
10             Accordingly, Defendants’ Response to the Complaint and Plaintiff’s Brief in
11             Opposition are expanded to 75 pages each. Defendants’ Reply Brief is expanded to
12             25 pages.
13          (3) Discovery is STAYED until January 2, 2023, unless otherwise ordered by the Court.
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15          Dated this 4th day of November, 2022.
16

17          IT IS SO ORDERED.
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                                                        A
20                                                      Tana Lin
                                                        United States District Judge
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